Case 2:02-CV-02880-BBD Document 107 Filed 06/17/05 Page 1 of 2 Page|D 65

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IN THE UNITED sTATEs DISTRICT CoURT N "%" D'°-
FOR THE WESTERN DISTRICT OF TENNESSEIS JUN 17 PH 3= 3|

 

WESTERN DIVISION

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W.D. OF iN, §‘»'EEMPHIS
DWAYNE WILLIAMS, )
)

Plaintiff, ) Case No.: 02-2880 D

)
v. )
)
SHELBY COUNTY, et al., )
)
Defendant. )

 

ORDER OF DISMISSAL AS TO PLAINTIFF
DWAYNE WlLLlAMS

 

The death of Plaintiff Dwayne Wil}iams Was suggested on the record. No motion to
substitute a proper party has been filed, and ninety (90) days have passed after the filing of the
suggestion of death. According]y, pursuant to Fed.R.Civ.P. 25(a)(1), this action is dismissed with
prejudice

IT ls so oRDEREI) this 1 7 Bday of

  

TED STATES DISTRICT JUDGE

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This document entered on the docks sheet m comp amc ` n
with Fluie 58 and/or 79(a) FF\CP on § &Q fl: 2 /0

 

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This notice confirms a copy ofthe document docketed as number 107 in
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Honorable Bernice Donald
US DISTRICT COURT

